
On May 3, 2017, we suspended respondent Brian Campbell Fischer from the practice of law for a minimum of 90 days, effective May 17, 2017. In re Fischer , No. A15-1483, Order at 2 (Minn. filed May 3, 2017). We expressly stated that within 1 year of the date of the order, respondent was required to file with the Clerk of the Appellate Courts proof of his "successful completion of the written examination required for admission to the practice of law by the State Board of Law Examiners on the subject of professional responsibility," and that failure to do so would "result in automatic re-suspension." Id . The required professional-responsibility examination is the Multistate Professional Responsibility Examination (MPRE). See Rule 4.A(5), Rules for Admission to the Bar.
We conditionally reinstated respondent on September 12, 2017. In re Fischer , 901 N.W.2d 155, 155 (Minn. 2017) (order). We again repeated the requirement that respondent had to file with the Clerk of the Appellate Courts proof of successful completion of the MPRE by May 3, 2018, and that failure to do so would result in automatic re-suspension, pending successful completion of the examination. Id. at 156.
Rule 18(e)(3), Rules on Lawyers Professional Responsibility (RLPR), provides that, unless waived by this court, a lawyer who has been suspended for 90 days or less "must, within one year from the date of the suspension order, successfully complete such written examination as may be required for admission to the practice of law by the State Board of Law Examiners on the subject of professional responsibility." Furthermore, "[e]xcept upon motion and for good cause shown, failure to successfully complete this examination shall result in automatic suspension of the lawyer effective one year after the date of the original suspension order." Id.
Respondent did not provide this court with proof that he successfully passed the *842MPRE by May 3, 2018. On May 7, 2018, we gave respondent 10 days to file proof of cause why he should not be immediately suspended pending his successful completion of the MPRE. In re Fischer , No. A15-1483, Order at 1-2 (Minn. filed May 7, 2018). We said that if no proof of cause was filed within 10 days, respondent would "be immediately suspended without further notice or proceedings." Id. at 2. Respondent did not respond to the May 7, 2018 order to show cause.
Based upon all the files, records, and proceedings herein,
IT IS HEREBY ORDERED that respondent Brian Campbell Fischer's conditional reinstatement is revoked and that he is indefinitely suspended, effective 10 days from the date of this order. Respondent shall comply with Rule 26, RLPR (requiring notice of suspension to clients, opposing counsel, and tribunals). Respondent may apply for reinstatement under Rule 18(f), RLPR, by filing with the Clerk of the Appellate Courts and serving on the Director of the Office of Lawyers Professional Responsibility proof that he has received a passing score on such written examination as may be required for admission to the practice of law by the State Board of Law Examiners on the subject of professional responsibility.
BY THE COURT:
/s/ ______________________________
David L. Lillehaug
Associate Justice
